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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 STATE OF TEXAS, STATE OF                         §
 LOUISIANA, STATE OF                              §
 MISSISSIPPI, STATE OF UTAH,                      §
 JEFFREY W. TORMEY, GUN                           §
 OWNERS OF AMERICA, INC., GUN                     §
 OWNERS FOUNDATION,                               §
 TENNESSEE FIREARMS                               §
 ASSOCIATION, and VIRGINIA                        §
 CITIZENS DEFENSE LEAGUE,                         §
      Plaintiffs,                                 §
 v.                                               §
                                                          CIVIL ACTION NO.2:24-CV-00089-Z
                                                  §
 BUREAU OF ALCOHOL, TOBACCO,                      §
 FIREARMS AND EXPLOSIVES,                         §
 UNITED STATES DEPARTMENT OF                      §
 JUSTICE, MERRICK GARLAND, in his                 §
 official capacity as Attorney General of         §
 the United States, and STEVEN M.                 §
 DETTELBACH, in his official capacity             §
 as Director of ATF,                              §
                                                  §
        Defendants.
                                                  §

           PLAINTIFFS’ MOTION FOR TEMPORARY RESTRAINING ORDER
                      AND/OR PRELIMINARY INJUNCTION

       Although purporting to update federal regulations to align with recently amended federal

firearms statutes, the regulations promulgated by the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”) of the U.S. Department of Justice on April 19, 2024, entitled “Definition of

‘Engaged in the Business’ as a Dealer in Firearms” (“Rule”), 89 Fed. Reg. 28968, go far beyond

the subtle change Congress made to the law. Instead, they subject hundreds of thousands of law-

abiding gun owners to presumptions of criminal guilt for all manner of innocuous activities related to

the statutorily authorized and constitutionally protected private sale of firearms. Moreover, in an

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obvious attempt to preclude timely judicial review, Defendants have accelerated the effective date

of their latest edict to a mere 30 days from publication in the Federal Register, contrary to past

practice. 1 Cf. 83 Fed. Reg. 66514 (90 days for bump stock rule); 87 Fed. Reg. 24652 (120 days for

“frame or receiver” rule); 88 Fed. Reg. 6478 (120 days for pistol stabilizing brace rule). Because

of the urgency created by Defendants own actions, and because the new regulations threaten to

turn otherwise law-abiding Americans into felons overnight, Plaintiffs seek a temporary restraining

order and/or preliminary injunction to preserve the status quo and prevent Defendants from

enforcing the Rule against lawful gun owners and collectors. If a temporary restraining order

and/or preliminary injunction is not granted, the Rule will become effective on May 20, 2024.




1
  ATF intends to “further update [its] guidance once it issues this Rule.” 89 Fed. Reg.at 28971. However,
as explained below, the Rule exceeds ATF’s statutory authority and is contrary to law, and the First,
Second, Fourth, and Fifth Amendments. Any “further” guidance based off these regulations would
likewise be unlawful and irreparably harm Plaintiffs.
                                                     2
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                                       INTRODUCTION

       ATF’s Rule redefines the landscape of American gun ownership. Under the guise of

clarifying existing statutes, the ATF is poised to radically expand the definition of who is

considered to be “engaged in the business” of dealing firearms. The Rule stretches the modest

language adjustments made by Congress in the 2022 Bipartisan Safer Communities Act (“BSCA”)

into a broad, catch-all dragnet that threatens to ensnare countless ordinary citizens. This sweeping

reinterpretation of well-settled statutory definitions will turn everyday gun owners into de facto

arms dealers overnight.

       Indeed, the Rule establishes a broad and ambiguous framework that potentially categorizes

ordinary individuals as firearm dealers if they engage in even minimal activities such as selling a

single firearm, offering to sell a firearm, advertising sales informally, or documenting transactions

for personal record-keeping. This expansive interpretation by ATF not only stretches the statutory

language beyond its reasonable bounds, but it also imposes severe civil, administrative, and

criminal penalties on individuals without providing clear, objective criteria for compliance.

       For instance, the Rule posits that selling firearms with the “intent to predominantly earn a

profit” now falls under the purview of activities requiring a Federal Firearms License (“FFL”),

regardless of whether such sales are infrequent or merely incidental to personal gun ownership.

This is a significant and unfounded expansion from the congressionally mandated definitions,

which still demand a “course” of “repetitive” buying and selling to qualify as being “engaged in

the business.” The Rule also introduces presumptions that could criminalize lawful transactions

and chill constitutionally protected conduct through the vague threat of “administrative action.”

ATF cannot provide a rational basis for such a sweeping change—much less a cogent theory for
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how its omnibus rulemaking comports with the statutory text.

        The Rule does not represent reasoned (much less lawful) decision making. To the contrary,

it is no more than an agency power-grab, attempting to severely restrict private firearms

transactions—effectively creating a de facto national gun registry by mandating that individuals

wishing to sell almost any firearm, for any reason, must obtain an FFL.

                                   BACKGROUND AND FACTS

    A. Statutory History

    Historically, the Federal Firearms Act of 1938 defined “dealer” to mean “any person engaged

in the business of selling firearms or ammunition. . . .” In one of the only cases to interpret that

phrase under the Federal Firearms Act, the Ninth Circuit discussed “shipment of guns to Tokyo,”

noting that the “guns were sold in two separate installments to two different people” and that the

defendants “procure[d] … possible buyers for the guns,” which supported a “finding that

appellants were ‘engaged in the business of selling firearms’. . . . ” Kaneshiro v. United States, 445

F.2d 1266, 1270 (9th Cir. 1971).

    Congress later repealed the Federal Firearms Act, finding that “it had not provided adequate

license fees or proper standards for the granting or denial of licenses and that this had led to licenses

being issued to unqualified persons.” United States v. Gross, 313 F. Supp. 1330, 1332 (S.D. Ind.

1970). But in recodifying the Act’s definition of “dealer” into the new Gun Control Act of 1968

(“GCA”), Congress defined the term “in somewhat the same manner as that definition appears




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in [the Federal Firearms Act]. See Act of Apr. 29, 1968, Pub. L. No. 90-351, 1968 U.S.C.C.A.N.

2112, 2201 (to be codified at 18 U.S.C § 921(a) (11)). 2

     Thus, the GCA defined “dealer” to mean “any person engaged in the business of selling

firearms or ammunition at wholesale or retail” but, like the FFA, did not further define what it

meant to be “engaged in the business.” That determination was left, for a time, to judicial

interpretation, which resulted in varying holdings. For example, the district court in Gross held the

definition required “no minimum number of sales, dollar volume of sales, or number of

employees” to be considered “engaged in the business,” but that “there should be no doubt in the

minds of men of common intelligence that ‘dealer’ means one that is engaged in any business of

selling, repairing or pawning firearms and that ‘business’ is that which occupies the time, attention

and labor of men for the purpose of livelihood or profit.” Gross, 313 F. Supp. at 1333.

     In 1979, ATF issued a notice of proposed rulemaking which proposed to define “engaged in

the business,” on the theory that the phrase was “not defined in the law or the regulations.” See

Definition of the Phrase “Engaged in the Business,”44 Fed. Reg. 75186 (Dec. 19, 1979) (to be

codified at 27 C.F.R. pt. 178). But in its proposal to define that phrase, ATF failed to identify a

single court that had trouble defining or applying the phrase. To the contrary, ATF’s proposal

acknowledged that “courts have continually found that the current situation is adequate for

enforcement purposes. . . . ” Id. at 75187. On March 31, 1980, ATF extended the comment period

for 30 days, see Definition of the Phrase “Engaged in the Business,”45 Fed. Reg. 20930 (March



2

https://www.westlaw.com/Document/IC70AEF6063EA11D9B7CECED691859821/View/FullText.htm
l?transitionType=Default&contextData=(sc.Default)&VR=3.0&RS=cblt1.0

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31, 1980) (to be codified at 27 C.F.R. pt. 178), 3 but no action was taken from that point. In other

words, ATF ultimately decided not to define the phrase “engaged in the business.”

          In 1986, the McClure-Volkmer Firearms Owners’ Protection Act (“FOPA”), added a

definition of “engaged in the business” to the statute – “a person who devotes time, attention, and

labor to dealing in firearms as a regular course of trade or business with the principal objective of

livelihood and profit through the repetitive purchase and resale of firearms, but such term shall not

include a person who makes occasional sales, exchanges, or purchases of firearms for the

enhancement of a personal collection or for a hobby, or who sells all or part of his personal

collection of firearms.” Firearms Owners’ Protection Act, Pub. L. 99-308, 100 Stat. 450. (1986).

FOPA further defined “with the principal objective of livelihood and profit” to mean “that the

intent underlying the sale or disposition of firearms is predominantly one of obtaining livelihood

and pecuniary gain, as opposed to other intents, such as improving or liquidating a personal

firearms collection.” FOPA was amended soon after, clarifying that “proof of profit” was not

required “as to a person who engages in the regular and repetitive purchase and disposition of

firearms for criminal purposes or terrorism.” Id.

          As the Senate Committee on the Judiciary reported regarding the “engaged in the

business” definition contained in the bill that would eventually become FOPA, “[l]ower courts

have applied two different, but similar tests for ‘engaging in the business.’ Neither is especially

clear, and both can be applied to a hobbyist to whom profit is a secondary objective.” See 98th




3
    https://archives.federalregister.gov/issue_slice/1980/3/31/20912-20982.pdf.

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Congress, 2d Sess., Report 98-583 at 9, Aug. 8, 1984. 4 After laying out those two judicially created

tests, the report explained that Congress’ intent was to “substantially narrow these broad

parameters by requiring that the person undertake such activities as part of a ‘regular course of

trade or business with the principal objective of livelihood and profit.’” Id. (emphasis added).

     On October 29, 1986, ATF adopted a Temporary Rule to implement FOPA, and invited

comments. 5 Commerce in Firearms and Ammunition; Temporary Rule, 51 Fed. Reg. 39612 (Oct.

29, 1986) Under the Temporary Rule, the phrase “engaged in the business” was defined to mirror

FOPA’s statutory language. On March 31, 1988, ATF adopted the regulatory definitions with no

changes. See Commerce in Firearms and Ammunition, 53 Fed. Reg. 10480 (March 31, 1988) (to be

codified at 27 C.F.R pts. 72, 178 and 179). 6 Importantly here, as to the definition of “engaged in

the business,” a commenter had requested “the definition list examples illustrating when a license

is required,” but ATF declined to add examples “since the definition adequately addresses this

concern by expressly delineating the activity requiring licensing from that of a firearms collector

not subject to licensing.” Id. at 10481.

     B. Enactment of the BSCA

     Thus, for several decades from FOPA’s addition of definitions in 1986 until enactment of the

BSCA last year, 18 U.S.C. § 921(a)(21)(C) has stated, in part, that “engaged in the business”




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  https://books.google.com/books?id=WjaxxKw8ixcC&pg=RA2-PA77&lpg=RA2-
PA77&dq=%22The+purpose+of+S.+914,+as+reported%22&source=bl&ots=C1ruIFGR-
k&sig=ACfU3U0_AZISnBWMe6mumA0Grt7SxuRA3w&hl=en&sa=X&ved=2ahUKEwj9ttiAgvCFAxX
a8MkDHbyzBSoQ6AF6BAgKEAM#v=onepage&q=%22The%20purpose%20of%20S.%20914%2C%20as%2
0reported%22&f=false.
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  https://archives.federalregister.gov/issue_slice/1986/10/29/39607-39634.pdf.
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  https://archives.federalregister.gov/issue_slice/1988/3/31/10460-10512.pdf.

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meant “a person who devotes time, attention, and labor to dealing in firearms as a regular course

of trade or business with the principal objective of livelihood and profit through the repetitive

purchase and resale of firearms, but such term shall not include a person who makes occasional

sales, exchanges, or purchases of firearms for the enhancement of a personal collection or for a

hobby, or who sells all or part of his personal collection of firearms.” Further, 18 U.S.C.

§ 921(a)(22) defined “with the principal objective of livelihood and profit” to mean an “intent

underlying the sale or disposition of firearms is predominantly one of obtaining livelihood and

pecuniary gain, as opposed to other intents, such as improving or liquidating a personal firearms

collection. . . . ” The BSCA amended this definition of “engaged in the business,” replacing

Section 921(a)(21)(C)’s phrase “with the principal objective of livelihood and profit” with the

phrase “to predominantly earn a profit. . . . ” Due to that change in terminology, 18 U.S.C.

§ 921(a)(22) was also modified, replacing the language “obtaining livelihood and pecuniary gain”

with the singular intent of “obtaining pecuniary gain. . . . ”

   C. The Rule

   On March 14, 2023, following enactment of the BSCA, President Biden issued an Executive

Order directing the Attorney General, among other things, to “(i) clarify the definition of who is

engaged in the business of dealing in firearms, and thus required to become Federal firearms

licensees (“FFLs”), in order to increase compliance with the Federal background check

requirement for firearm sales, including by considering a rulemaking, as appropriate and consistent

with applicable law; [and] (ii) prevent former FFLs whose licenses have been revoked or

surrendered from continuing to engage in the business of dealing in firearms.” Definition of



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“Engaged in the Business” as a Dealer in Firearms, 89 Fed. Reg. 28968, 28972 (April 19, 2024)

(to be codified 27 C.F.R. pt. 478).

     Purportedly acting pursuant to this directive, the DOJ announced the notice of proposed

rulemaking (“NPRM”) on August 31, 2023, claiming that its proposed revisions “conform[]

ATF’s regulations to the new BSCA definition and further clarify[] the conduct that presumptively

requires a license under that revised definition.” 7

     But while some of the proposed revisions in the NPRM amended various regulations to mirror

the newly enacted federal statutory language, others fabricated entirely new provisions that

contravene and effectively nullify the very statutes they claim to implement. Plaintiffs identified

these atextual provisions as well as several other defects in their public comments to the NPRM.

See Public Comment of Gun Owners of America, Inc. et al. (Dec. 2023) (“Ex. A”); Public

Comment of State Attorneys General (Dec. 7, 2023) (“Ex. B.”). 8

     The Rule purports to do two things: (1) implement the BSCA and (2) “provide additional

guidance on what it means to be engaged in the business as a ‘dealer….’” 89 Fed. Reg. at 28973.

But the Rule, for the most part, has nothing to do with the BSCA. Rather, for the most part the

Rule represents an ATF wish list of how it would like the statute to operate. For example, the Rule

revises the existing definitions of dealer, engaged in the business, and principal objective of livelihood

and profit. And it adds definitions of personal collection (or personal collection of firearms, or personal




7
 https://atf.gov/news/pr/justice-department-proposes-new-regulation-update-definition-engaged-
business-firearms.
8
  https://dojmt.gov/wp-content/uploads/Comment-Letter-to-ATF-88-Fed-Reg-61993-Filed.pdf.

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firearms collection), former licensee inventory, predominantly earn a profit, responsible person, and

terrorism.

                                           STANDARD

         For a preliminary injunction, Plaintiffs must show “(1) a substantial likelihood of success

on the merits, (2) a substantial threat of irreparable injury if the injunction is not issued, (3) that

the threatened injury if the injunction is denied outweighs any harm that will result if the injunction

is granted, and (4) that the grant of an injunction will not disserve the public interest.” Janvey v.

Alguire,647 F.3d 585, 595 (5th Cir. 2011). “The purpose of a preliminary injunction is merely to

preserve the relative positions of the parties until a trial on the merits can be held.” Univ. of Tex.

v. Camenisch, 451 U.S. 390, 395 (1981). The standard is the same for a temporary restraining order.

Janvey, 647 F.3d. at 595.

      D. Plaintiffs Are Likely to Succeed on the Merits.

I.       The Rule Violates the Administrative Procedure Act (“APA”) by Enacting
         Arbitrary and Capricious Edicts, Abusing ATF Discretion, Contravening the
         Statute, Violating Constitutional Rights, and Exceeding ATF Authority.

         Because administrative agencies are creatures of statute, they possess only the authority

that Congress has provided. La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355, 374 (1986) (“[A]n

agency literally has no power to act . . . unless and until Congress confers power upon it.”). And it

is a core principle of American law that an agency may not rewrite statutory terms to suit its own

sense of how the law should operate. Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014). When

agencies exceed their statutory authority, those actions are unlawful and ultra vires. See City of

Arlington v. FCC, 569 U.S. 290, 297 (2013). ATF flouts its limited function at every step.

         First, the Rule defines several terms, including “dealer,” “engaged in the business,” and

                                                    17
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“to predominately earn a profit.” But Congress already defined these terms in the statute, and

ATF has no authority to alter that text and thereby expand, contract, or alter the statutory meaning.

Ex. A at 8-11. To the contrary, ATF only has statutory authority to “prescribe … such rules and

regulations as are necessary to carry out the provisions of this chapter.” 18 U.S.C. § 926(a)

(emphasis added). ATF disagrees. It claims that “the fact that Congress generally defined the

term . . . does not mean that the Department lacks the authority to further define that term.” 89

Fed. Reg. at 29011. But “[t]he statute’s unambiguous … definition … precludes the [agency] from

more expansively interpreting that term.” Dig. Realty Trust, Inc. v. Somers, 583 U.S. 149, 169

(2018); see also ACLU v. FCC, 823 F.2d 1554, 1568 (D.C. Cir. 1987) (“the statute speaks with

crystalline clarity. It provides a precise definition … for the exact term the Commission now seeks

to redefine. … From the face of the statute then, we are left with no ambiguity and thus no need

… for clarification.”); Pol’y & Rsch., LLC v. HHS, 313 F. Supp. 3d 62, 72 (D.D.C. 2018) (“an

agency acts arbitrarily and capriciously if it acts in a manner that is contrary to … a congressional

statute.”); Maralex Res., Inc. v. Barnhardt, 913 F.3d 1189, 1201 (10th Cir. 2019) (“agency discretion

‘in the interstices created by statutory silence’” applies “only when ‘considering undefined terms

in a statute . . . . ’”); Adams Fruit Co. v. Barrett, 494 U.S. 638, 642 (1990) (“where the terms of a

statute are unambiguous, judicial inquiry is complete.”); 89 Fed. Reg. at 29010 (admitting that, in

the past, ATF has only “provided regulatory definitions of terms that Congress did not define in

the statute”).

       Second, the Final Rule seeks to create and then resolve ambiguity in the statute where none




                                                   18
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exists, excising ordinary words 9 like “purchase” and “sale” and defining them “consistent with

the[ir] common meaning. . . . ” 89 Fed. Reg. 28974 . . . ” Definition of “Engaged in the Business”

as a Dealer in Firearms, 88 Fed. Reg. 61993, 61999 nn. 49, 50..44, 45 (Sept. 8, 2023) (to be codified

at 27 C.F.R. pt 478). But ATF does not explain what ambiguity exists in these terms, or why

ordinary people cannot understand them. ACLU, 823 F.2d at 1568 (“we are left with no ambiguity

and thus no need … for clarification.”). Elsewhere the Final Rule refuses to define commonplace

terms, stating that “readers should use the ordinary meaning. . . . ”89 Fed. Reg. at 28992. ATF

provides no reason for these inconsistent approaches. And as Plaintiffs noted in comments (Ex. A.

at 10 n.12), ATF’s attempt to define simple words often backfires spectacularly – for example,

starting with the easily understood word “sale,” defining it to include “something of value,”

defining that to include “valuable consideration,” and then defining that to include “forbearance”

(89 Fed. Reg at 28975 n.56) – a word that likely is not easily comprehended by many. But that is

what the Final Rule does – take something simple and complicate it to the point of

incomprehensibility. As with past ATF rulemakings, this is a feature, not a bug.

        Third, the Rule conflicts with the Rule of lenity. Neither the NPRM nor the Rule ever

claims any part of the statute is in any way ambiguous, seeks deference, or invokes Chevron. Yet

ATF still feels the need to use nearly a ream of paper in order to “clarif[y]” (89 Fed. Reg. 28968)

just what the statute means. See also 89 Fed. Reg at 28973 (“in light of the BSCA’s changes . . . and


9
 Courts have rejected this acontextual, surgical approach many times before. See, e.g., Missouri v. Biden, 83
F.4th 350, 382-83 (5th Cir. 2023) (“reading … in ‘context, not in isolation’”); Garland v. Gonzalez, 142 S.
Ct. 2057, 2074 (2022) (rejecting “rigidly segmenting each word in the clause, defining each in isolation, and
adding those definitions together,” as “this Court has cautioned against such a piecemeal approach to
statutory interpretation”); Biden v. Nebraska, 143 S. Ct. 2355, 2382 (2023) (Barrett, J., concurring) (“a
vacuum is no home for a textualist. Instead, we stressed that the “meaning” of a word or phrase “may only
become evident when placed in context.”).
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to provide additional guidance”). In fact, the Rule expressly anticipates that it is not ATF’s last word

on the subject, and that ATF will continue to “further update [its] guidance once it issues this Rule.

89 Fed. Reg. at 28971. 10 But criminal statutes (or those that carry criminal penalties 11) may not be

vague or unclear. They should not require hundreds of pages of “additional guidance” to

understand. Or any pages, for that matter. Ordinary people should be able to read and comprehend

what is proscribed. That ATF believes the Rule to be necessary means that ATF believes the

statute fails to provide fair notice without the Rule. See Dobrova v. Holder, 607 F.3d 297, 301 (2d

Cir. 2010) (“if the statutory text is unambiguous, no further inquiry is necessary”). And if the

statute is suddenly now (after decades) so grievously ambiguous that ATF must step in, the Rule

of lenity dictates any ambiguities be resolved in favor of the gun owner (i.e., against licensure – the

opposite of what the Rule does). See 89 Fed. Reg. at 29005 (arguing lenity does not apply by

focusing on the Rule, not the statute).

         Fourth, the Rule conflicts with the statute on its face. ATF claims that only a single sale of

a single firearm must be considered “engaged in the business.” But see 89 Fed. Reg. at 29028–29.

But see 89 Fed. Reg. at 29021 (“buying and selling more than one firearm”). In fact, the Rule later

says that “no actual sales are required if the intent element is met. . . . ” Id. This reasoning is

impossible to square with the statute, which requires not only intent, but also action – the

“repetitive purchase and resale of firearms.” Cf. Fed. Reg. at 29045 (seeking to expand the


10
   On the same date ATF published the Rule, it also published a Rule done without notice-and-comment,
purportedly making “noncontroversial … conforming regulations” related to being engaged in the business.
Bipartisan Safer Communities Act Conforming Regulations, 89 Fed. Reg. 28622 (April 19,2024). This
seems to be the “other firearm provisions” referenced in 89 Fed. Reg. at 28984 n.114, but it is unclear if
this is the “further update” referenced in 89 Fed. Reg. at 28971.
11
   See 89 Fed. Reg. 29013 (“The Department acknowledges … that failure to comply with the licensing
requirement can have criminal implications . . . . ”).
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statutory text so that it is enough if a person “is engaging, or intends to engage, in ‘the repetitive

purchase and resale of firearms’”). Although acknowledging Plaintiffs’ point that the statute

requires multiple purchases and resales (89 Fed. Reg. at 29020–21), noting the “six [statutory]

indicators” that ATF has got it wrong (Ex. A at 12-18), the Rule doubles down and claims there is

no “minimum number of firearms to actually be sold.” 89 Fed. Reg. at 29021. And in response to

Plaintiffs’ focus on the “particular words or phrases in the statute,” ATF demurs that “the

statutory language must be considered as a whole.” Id. But it is ATF which ignores the whole text,

ignoring the element of sales and focusing exclusively on the profit “intent underlying the sale.” 12

89 Fed. Reg. at 29042. See Martinez v. Larose, 968 F.3d 555, 561 n.5 (6th Cir. 2020) (when “the

plain text of the statute provides the answer, we need not examine the structure”). A person can

have all the intent in the world, but if he never actually does anything (repetitive purchase and

resale), the statute does not render him “engaged in the business.” 13 As Plaintiffs explained in

their comments, there is no federal “attempt” crime for being an unlicensed dealer. Ex. A at 51-

53; cf. 89 Fed. Reg. at 29045 (“a person may repeatedly advertise and display firearms for sale …

but never actually find a buyer”).

         Fifth and similarly, the Rule conflicts with the statute by claiming that the government need

not demonstrate actual profit, but only the intent to profit. 89 Fed. Reg. at 29045. On the contrary,

the statute says that “proof of profit” is “not … required” only in cases of “criminal purposes or


12
   Elsewhere, the Rule admits these are separate elements, conceding that “intent to profit … is only one
element of being engaged in the business.” 89 Fed. Reg. at 29041; see also 89 Fed. Reg. at 29045 (same).
13
   The statute says that a person must act “to predominantly earn a profit through the repetitive purchase
and resale of firearms. . . .” 18 U.S.C. § 921(a)(21)(C). Congress’ use of the word “through” is instructive,
because it explains how a person acts to earn a profit – “repetitive purchase and resale.” By focusing
exclusively on intent to profit (absent any actual transactions), ATF entirely eliminates a requirement to
prove the crime.
                                                       21
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terrorism.” 18 U.S.C. § 921(a)(22). The obvious corollary is that proof of profit is required in other

cases. Ex. A at 19-24 (explaining that none of ATF’s cited cases support its claim that only proof

of intent is required). The Rule acknowledges the point (89 Fed. Reg. at 29042) but disagrees,

rejecting the “negative implication” principle, and focusing on the statutory use of “to

predominantly earn a profit” meaning “intent underlying the sale.” 89 Fed. Reg. at 29042-. But

the fact that “intent” appears in the definition (explaining what type of profit is unlawful) does not

mean that intent is all that is required with respect to profit. Rather, that definition in Section

921(a)(22) is meant to distinguish between profit that is permissible and profit that shows a person

“engaged in the business.” Either way, profit is required – because actual sales are required. This

Court should reject ATF’s creative attempt to avoid proving multiple elements of the crime.

       Sixth, on top of watering down numerous requirements to prove the crime of being

unlawfully “engaged in the business,” the Rule also seeks to undermine the safe harbor provisions

contained in Section 921(a)(21)(C), which states that a person is definitively not engaged in the

business if he “makes occasional sales, exchanges, or purchases of firearms for the enhancement

of a personal collection or for a hobby, or … sells all or part of his personal collection of firearms.”

As GOA’s Comments explained (Ex. A at 24–28), this language contains three separate safe

harbors: firearm transacting done (i) “for the enhancement of a personal collection” or (ii) “for a

hobby,” or (iii) “sell[ing] all or part of [a] personal collection. . . .” The Rule, however, combines

harbors (i) and (ii) into a single definition, defining “personal collection” to include firearms

acquired “for a hobby.” 89 Fed. Reg. at 29090. The Rule acknowledges “conflating” the separate

provisions (89 Fed. Reg. at 29037), and agrees that a “‘hobby … has a meaning independent of

the term ‘collection,’” but argues that “this combined definition” somehow sufficiently accounts

                                                    22
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for both concepts (89 Fed. Reg. at 29039).

         But more problematic still is the Rule’s constrictive definition of just what constitutes a

“personal collection,” seeking to collapse and confine that expansive term to just “study,

comparison, exhibition” and “noncommercial, recreational activities for personal enjoyment.” 89

Fed. Reg. at 29038. And although GOA noted that this restrictive reading would exclude a

collection purchased for “long-term investment purposes” or Second Amendment “‘arms’ for

self-defense” (Ex. A at 26), the Rule doubles down, claiming there to be one “misconception in

common: that any person who amasses multiple firearms without a license and without criminal

purpose has, by definition, a ‘personal collection,’ or is a ‘collector’ under the statute.” 89 Fed.

Reg. at 29037. According to ATF, this is “akin to saying that any person … with change in their

pockets … has a coin collection. . . .” 89 Fed. Reg. at 29038. To that end, the Rule now says that

“personal collection … shall not include firearms accumulated primarily for personal protection.” 14

89 Fed. Reg. at 29090. But as ATF recognizes, “personal protection” is the reason that most

people acquire firearms in the first place (89 Fed. Reg. at 29036), meaning the Rule construes the

statutory safe harbors so that they do not apply to most gun owners. And in concocting its narrow

definition of “personal collection,” ATF employed the narrowest definition of “collection” it

could find. See 88 Fed. Reg at 62004 n. 88.85. This conflicts with the Rule’s general focus on using

“the common meaning” of words. 89 Fed. Reg. at 28974 nn.49-50. Indeed, Congress intended

“personal collection” to be broad and generally applicable. Other definitions of “collection”




14
  The Rule drops a note that “nothing … preclud[es] a person from lawfully acquiring firearms for self-
protection or other lawful personal use” (89 Fed. Reg. at 29090), in stark contrast to the safe harbor which
deals with “sales, exchanges, [and] purchases.”
                                                      23
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include “a group of objects or an amount of material accumulated in one location,” 15 a far broader

understanding that encompasses firearms purchased for self-defense by ordinary people. The Rule

fails to explain why the narrow definition should be adopted, rather than the broader. Under the

Rule, a person who keeps a collection of firearms for self-defense, or as a safeguard against tyranny,

has no statutory safe harbor to sell those firearms. This is clearly not what Congress intended.

         Seventh, the Rule is hopelessly vague, in violation of both the Due Process Clause and the

APA.ATF disagrees, claiming that the Rule is not vague because its definitions “are based on

standard dictionary definitions and decades of case law. . . . ” 89 Fed. Reg. at 29016. Yet many of

ATF’s series of “presumptions” related to unlawful dealing act indiscriminately, sweeping in a

host of lawful conduct, 16 failing to differentiate between lawful and unlawful, 17 and threatening

everyone (including countless law-abiding gun owners) with a presumption that they are committing

felonious acts unless they “rebut the presumptions” with “reliable evidence to the contrary.” 18


15
   Collection, Dictionary.com, https://www.dictionary.com/browse/collection (last visited Apr. 30, 2024).
16
   For example, under the NPRM, selling a firearm that was new in its original box carried the automatic
presumption that a person was unlawfully dealing firearms. 88 Fed. Reg. at 62001. Once commenters
pointed out that behavior is quite ordinary, noting “ATF’s lack of understanding of the firearms
community” (89 Fed. Reg. at 29031), the Rule now creates a safe harbor within a presumption, saying that
new-in-box firearms sold after one year do not qualify for the presumption. 89 Fed. Reg. at 29091. However,
ATF immediately walks back that safe harbor, stating that it does not apply if a person “intentionally
stockpiles” firearms “with an intent to evade the one-year turnover. . . .” 89 Fed. Reg. at 29016. In other
words, ATF presumes a person is dealing, except to the extent that he is not, except to the extent that he is – a
presumption, within a safe harbor, within a presumption, within a statute. And gun owners must read the
preamble of the Rule (not just the Rule itself) in order to figure out if they engaged in felonious behavior.
Id.
17
   After claiming that everyone who keeps track of money when they purchase and sell firearms has a
presumptively unlawful profit motivation (88 Fed. Reg. at 62022), the Rule now provides that this only
applies to “firearms repetitively purchased for resale.” 89 Fed. Reg. at 29048, 29091. This makes little
sense, as it ties profit motivation (one element of the crime) to repetitive purchase and resale (a different
element of the crime). The Rule is clear as mud.
18
   See, e.g., 89 Fed. Reg. at 29048 (because the Rule creates a regime where federal law now both requires
records and prohibits records of firearm purchases and sales, gun owners must now show that the records

                                                         24
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The Rule acknowledges 19 this point, noting “[a] general sentiment from commenters opposed to

the proposed presumptions is that they are overbroad, [and] would capture too many permissible

sales by collectors. . . . ” 20 89 Fed. Reg. at 29023. But the Rule does little to alleviate those

legitimate concerns, instead repeatedly demurring that, even if the Rule captures otherwise lawful

conduct, “the presumptions are rebuttable” and “refuted by reliable evidence” provided by the

accused. 89 Fed. Reg. at 29016, 29024, 29031-29033, 29045, 29047-29050. No doubt, this right to

engage in self-defense is a cold comfort to law-abiding gun owners who find themselves on the

wrong end of an ATF cease-and-desist letter, administrative action, forfeiture notice, or even a

criminal charge that should have never been brought in the first place. 21 Persons whose conduct is

law-abiding should not be forced – in any sort of proceeding – to present “reliable evidence” to




they keep are “recorded for tax purposes” in order to disprove the presumption that they have an unlawful
profit motivation).
19
   Initially, ATF claims that the Rule is not vague because it “does not purport to include every possible
scenario.” 89 Fed. Reg. at 28991; see also 89 Fed. Reg. at 28992 (“address every conceivable scenario”).
But Plaintiffs never claimed the Rule addresses too little, but instead that it sweeps in too much – assuming
for the sake of bureaucratic expediency that all manner of innocent conduct is unlawful until proven otherwise.
20
   Often, rather than acknowledge the lack of clarity in the NPRM, ATF first blames the public for failing
to understand– but then quietly amends the Rule. For example, ATF accuses commenters of having a
“misconception in common” about what constitutes a “personal collection,” but nevertheless “has
revised” the language in the Rule. 89 Fed. Reg. at 29038. See also 89 Fed. Reg. at 29016 (“The Department
disagrees…. Nonetheless … the Department has revised those presumptions”); 89 Fed. Reg. at 29046-47
(same); 89 Fed. Reg. at 29038-39 (“The Department disagrees…. At the same time, the Department
recognizes. . . . To make this point clear, the definition … has been revised”); 89 Fed. Reg. at 29048 (“The
Department disagrees…. However, to further clarify this point. . . .”); 89 Fed. Reg. at 29049-50 (same).
21
   Rather than inspiring confidence, the Rule delivers a hollow promise – that the Rule’s presumptions shall
not apply in criminal cases, except to the extent they may. See, e.g., 89 Fed. Reg. at 28969 (suggesting
presumptions “may be useful to judges … to instruct juries regarding permissible inferences”). But
“[p]resumptions, especially in administrative proceedings that may generate institution-destroying liability,
cannot be a matter of Department ipse dixit.” Career Colls. & Schs. of Tex. v. U.S. Dep’t of Educ., 2024 U.S.
App. LEXIS 8152, at *61 (5th Cir. Apr. 4, 2024); see also Chem. Mfrs. Ass’n v. DOT, 105 F.3d 702, 705 (D.C.
Cir. 1997) (“unlike a legislative body, which is free to adopt presumptions for policy reasons, … an agency
may only establish a presumption if there is a sound and rational connection between the proved and
inferred facts.”).
                                                        25
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defend themselves, merely because ATF cannot formulate a rule which can distinguish between

lawful and unlawful conduct, and for the sake of expediency assumes everything is unlawful. 22

         Writing in concurrence in VanDerStok v. Garland, Judge Oldham rejected a similar tactic

attempted in ATF’s last attempt to make felons out of millions of Americans (those who own

firearms with pistol stabilizing braces). Although seeming to acknowledge the vagueness of that

rulemaking:

         ATF also argues that it could provide sufficient guidance in individual cases: Where
         ‘persons remain uncertain’ as to the exact scope of the Rule, ‘they may submit a voluntary
         request to ATF for a classification.’ … But this does nothing to cure the Final Rule’s vagueness.
         As important as the Fifth Amendment’s guarantee of fair notice to individuals is the
         Amendment’s prohibition against ‘arbitrary enforcement’ by government officials. … It is
         thus of no use for ATF to say that it will tell ordinary people what they can do. The law exists
         to tell both the people and government officials what they can do. [Id. at 209 (Oldham, J.,
         concurring).]

         VanDerStok v. Garland, 86 F.4th 179, 209 (5th Cir. 2023)

II.      The Rule’s Three Sets of Presumptions Are Unlawful, Arbitrary, and Overbroad.

         Aside from these many textual and APA conflicts in the Rule’s numerous definitions, the

Rule also creates three sets of so-called “rebuttable presumptions” that stand in obvious direct

conflict with the statute. First, the Rule claims there to be five indicators that a person is



22
  Such elevation of expediency over justice also characterizes ATF’s “zero tolerance” FFL revocation
policy, which automatically presumes certain regulatory violations to be willful, bypassing statutory
revocation procedures to close more gun dealers (and seize more records) than ever before. As GOA
commented, the Rule must be understood in its greater context. See Ex. A at 83 (“all evidence points to the
creation of an illegal (not to mention unconstitutional) federal registry of almost all gun owners
nationwide”). Likewise, the Rule creates a Catch-22, where “ATF will require a person obtain a license in
order to sell firearms, only then to deny that person the very license that ATF demanded be obtained.” Id.
at 58; cf. 89 Fed. Reg. at 29013 (acknowledging “license denial or revocation proceedings for willful
violations,” yet the Rule’s entire premise is that thousands of gun owners are illegally engaging in the
business (i.e., willfully violating the law)) ATF’s only response is that “ATF would need to have evidence,”
89 Fed. Reg. at 28996, apparently claiming that it is unlikely that ATF would ever know that a person had
been violating the new requirements contained in the Rule.
                                                      26
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presumptively “engaged in the business as a dealer.” 89 Fed. Reg. at 29091 (“EIB

presumptions”). Second, the Rule claims that there are seven indicators that a person “has the

intent to predominantly earn a profit.” 89 Fed. Reg. at 29091–92 (“PEP presumptions”). Third,

the Rule claims that there are six categories of “conduct that does not support a presumption”

that a person is engaged in illegal activity. 89 Fed. Reg. at 29092. Lastly, the Rule says a person

may use “reliable evidence … to rebut any presumption” from the first two categories. 23 Id.

         ATF’s presumptions are tied to civil and criminal implications that threaten to upend the

entire system of private gun sales. ATF’s assurance that these presumptions rest on its

“experience” is of no matter,because “[p]resumptions, especially in administrative proceedings

that may generate institution-destroying liability, cannot be a matter of [agency] ipse dixit.” Career

Colleges & Sch. of Tex. v. U.S Dep’t of Educ., 98 F.4th 220,251 (5th Cir. 2024). The problems with

these various sets of presumptions are many. For starters, there is nothing in the statutes Congress

enacted 24 that creates or permits the creation of such presumptions of unlawful activity. 25 As noted


23
   The Rule claims that all of these presumptions are permissible because of ATF’s “enforcement efforts,
regulatory functions, knowledge of existing case law, and subject-matter expertise. . . .” 89 Fed. Reg. at
28975; see also 89 Fed. Reg. at 28981 (citing “ATF’s experience”). In other words, ‘we know best’ is ATF’s
rationale for subjecting countless gun owners to high-stakes enforcement actions. On the contrary, “the
argument for agency expertise and judgment does not get [the ATF] very far,” as “falling back on
unexplained claims of agency expertise does not carry the [ATF’s] burden” under the APA. El Paso Elec.
Co. v. FERC, 76 F.4th 352, 364 (5th Cir. 2023).
24
   Congress knows how to create such presumptions when it wants. See, e.g., 18 U.S.C. § 1469(a); 18 U.S.C.
§ 3142(e)(2); 35 U.S.C. § 282(a); 38 U.S.C. § 1118.
25
   In response to the many comments that ATF lacked authority to promulgate presumptions in the first
place (89 Fed. Reg. at 29011-12), the Rule notes that ATF may “promulgate regulations necessary to
enforce the provisions of the GCA, and a regulation that clarifies when a license is required is such a
regulation.” 89 Fed. Reg. at 29012; see 18 U.S.C. § 926(a). But that means the presumptions are necessary
to comprehend the statute, yet Congress never enacted them. See Ex. A at 8-11. Had Congress intended to
authorize an action so significant, it would have done so expressly. See West Virginia v. EPA, 142 S. Ct. 2587,
2608 (2022) (providing under the major questions doctrine that agency actions with “‘economic and
political significance’ … provide a ‘reason to hesitate before concluding that Congress’ meant to confer
such authority”).
                                                        27
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above, these presumptions sweep into their ambit a whole host of lawful activity, tainting all sorts

of innocuous conduct with presumed criminality – something the Rule repeatedly acknowledges.

In order to combat such a wrongful allegation of unlawful dealing, the Rule saddles gun owners

with the unprecedented obligation to affirmatively demonstrate that they are not violating the

statute. The presumptions thus fundamentally alter the statute, which previously required ATF to

prove unlawful dealing before bringing action, to now permitting ATF to make presumptions in

order to begin proceedings and later force the gun owner to defend (or else).

         Nor is there any ambiguity in the statutory text requiring the presumptions, something

ATF previously has acknowledged. Expressly declining to “list examples” of prohibited conduct

in 1998, ATF claimed that “the [statutory] definition adequately addresses this concern by

expressly delineating the activity requiring licensing from that of a firearms collector not subject to

licensing.” Commerce in Firearms and Ammunition, 53 Fed. Reg. 10480, 10481 (March 31, 1988)

(to be codified at 27 C.F.R. pts 72,178 & 179). The Rule gives no reason that the same statute is

now inadequate. The Fifth Circuit, too, has rejected the approach taken in the Rule, explaining

that a charge of unlawful dealing requires “examin[ation of] all circumstances … without the aid of

a ‘bright-line rule.’” United States v. Brenner, 481 F. App’x 124, 127 (5th Cir. 2012) (emphasis

added); see also 89 Fed. Reg. at 29016 (“the determination of whether a person is engaged in the

business is a fact-specific inquiry.”). But the Rule creates such bright-line rules anyway, under

which a person is presumed to be dealing based on a single data point, 26 and without examination of

other facts (which presumably must then be offered as “reliable evidence” in rebuttal).


26
   The NRPM, in fact, accidentally said the quiet part out loud, treating the purported “presumptions” as
conclusive, and opining that anyone falling into any of the presumptions is “thus require[d]” to obtain a
license. 88 Fed. Reg. at 61996.
                                                     28
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         A. The EIB Presumptions Are Flawed.

         In addition to this cornucopia of general, overarching problems with the Rule’s

presumptions, the specifics of the presumptions themselves are arbitrary – either indistinguishable

from lawful conduct, or in direct conflict with the statutory text. See generally Ex. A at 37-42.

Numerous examples bear out these realities. The first EIB presumption states that a person is

presumptively EIB if he “offers for sale” or “demonstrates a willingness and ability to purchase

and resell” firearms. 89 Fed. Reg. at 29091. But as noted above, the statute requires actual

purchases and resales, not merely offers or willingness. The second EIB presumption also conflicts

with the statute, making presumptively unlawful anyone who “purchases … or … resells” various

types of firearms. But again, the statute says “purchase and resale.” 27 The third EIB presumption,

reselling firearms “within 30 days after … purchase[],” fails to acknowledge that, because of the

uniquely personal nature of carrying a firearm for self-defense, gun owners routinely purchase and

then resell firearms that do not fit their body type, do not feel good in the hand, do not function

reliably, etc. Ex. A at 39-40. ATF acknowledges these “common scenarios,” but opines without

explanation that this could only reasonably happen once. 89 Fed. Reg. at 29031. This third EIB

presumption also makes presumptively unlawful selling firearms “new or like new in their original

packaging” or of “the same make and model,” unless the firearms have been held by the owner

for more than a year. 28 But this rule, in which the right to dispose of one’s property does not fully

vest for one year, is not even fixed in stone. Rather, the Rule’s preamble (not the Rule itself) states


27
   “In statutory interpretation, we have three obligations: ‘(1) Read the statute; (2) read the statute; (3) read
the statute!’ Henry J. Friendly, Benchmarks 202 (1967) (attributing the treble commandment to Justice
Frankfurter).” United States v. Koutsostamatis, 956 F.3d 301, 306 (5th Cir. 2020).
28
   ATF added this part in response to GOA’s criticism that this presumption, along with the fourth
presumption on selling “the same make and model,” contained no “temporal limitation.” Exhibit A at 41.
                                                         29
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that the one-year safe harbor does not apply if a person “intentionally stockpiles” firearms and

then waits one year to resell them. 89 Fed. Reg. at 29016. In other words, the presumption applies,

unless it does not, except to the extent that it does. No ordinary person could even uncover these

nuanced details hidden in the Rule’s preamble, 29 much less decipher whether their conduct is

lawful.

          B. The PEP Presumptions Are Flawed.

          Like the EIB presumptions, the Rule’s PEP presumptions are flawed. Each assumes that

certain forms of behavior or activity constitute an unlawful intent to earn a profit (unless proven

otherwise). But as noted above, ATF fails to recognize that the statute requires actual profit from

actual purchases and resales, and that the intent underlying that profit come from an impermissible

motivation. See supra at 22–23. But even so, the first and second PEP presumptions 30 take these

defects one step further, implicating those who “[r]epetitively or continuously … post firearms

[online] for resale” or secure for value “space to display firearms … for resale. . . . ” 89 Fed. Reg.

at 29091. But because the Rule defines “resale” not as a business term of art 31 but as any sale of “a


29
   See Peabody Twentymile Mining, LLC v. Sec’y of Labor, 931 F.3d 992, 998 (10th Cir. 2019) (“the limitations
that appear in the preamble do not appear in the language of the regulation, and we refuse to engraft those
limitations onto the language.”). See also Wilgar Land Co. v. Dir., OWCP, 85 F.4th 828, 837 (6th Cir. 2023)
(“While a preamble’s interpretation of regulations may help clarify any ambiguity in them, an agency
cannot use preambles to add substantive duties that the regulations themselves do not contain.”).
30
   The NPRM would have dinged a gun owner for posting even a single firearm for sale to an online forum.
See Ex. A at 42-43. The Rule thus now adds the words “repetitively or continuously.” 89 Fed. Reg. at
29047, 29091; see also 89 Fed. Reg. at 29047 (admitting that people “who wish to dispose of all or part of a
personal collection, or ‘trade up’ … are likely to occasionally offer for resale firearms from their personal
collection online”).
31
   Indeed, “embedded within the word ‘resale’ is a contemporaneity requirement, instructing that firearm
purchases and resales must be linked together within a short enough timeframe of each other to constitute
business activity. … Take, for example, a rare coin dealer that charges a ‘margin’ on each product sold, with
the price determined not by the dealer’s basis in that product, but in the replacement cost of obtaining another
one in the marketplace.” Exhibit A at 16-18. This reading of the term is the only one that makes sense in

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firearm … after it was previously sold” (89 Fed. Reg. at 29090), these PEP presumptions

eviscerate the statute’s explicit protection of people “who sell[] all or part of [their] personal

collection of firearms,” who often do so incrementally (i.e., listing firearms “repetitively”) and

with help from gun-show venues. 18 U.S.C. § 921(a)(21)(C); see Ex. A at 43. The same issues

plague the third presumption, which punishes diligent recordkeeping once the Rule’s loose

“resale” definition takes effect. 89 Fed. Reg. at 29091; cf. Ex. A at 43-44.

        Next, the fourth PEP presumption implicates businesses that “secure[] merchant services

… through which the person intends to repetitively accept payments for firearms transactions.”

89 Fed. Reg. at 29091. As GOA commented, this presumption could apply to anyone, with any sort

of business, who allows a person to pay for a firearm through the business. Ex. A at 45. And just

“repetitively accept[ing] payments” for firearm sales does not make someone a dealer – for

example, someone who sells off an inherited collection. By demurring that “[p]rivate citizens

generally do not sign up for credit card processing services” (89 Fed. Reg. at 29049) the Rule

misses this nuance entirely – that the presumption reaches businesses unrelated to firearms that may

accept payments for firearms. 32, 33




context. The Rule’s definition, by contrast, merely defines the word “resale” in a vacuum. Indeed, the
Rule’s all-encompassing “resale” definition places its PEP presumptions in direct conflict with its opposite
presumptions, one of which purports to “not … presume[]” EIB when one liquidates their personal
collection. Fed. Reg. at 29092. The Rule never attempts to reconcile this conflict.
32
   But by acknowledging that this presumption does not necessarily make a person a dealer (89 Fed. Reg. at
29049), it is unclear why such conduct must be a presumption in the first place. Further unclear is how a
presumption can admittedly sweep up lawful activity while simultaneously not being “overbroad.” See id.
33
   The Rule also ignores current technology, like Cash App, Venmo, PayPal, and Apple Pay which, contrary
to what ATF believes, allows “private citizens” to accept credit cards through commonly used smartphone
apps.
                                                      31
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       The fifth PEP presumption affects businesses that “secure[] business security

services … to protect firearms assets and repetitive firearms transactions.” 89 Fed. Reg. at 29091.

But such overbroad wording means security companies whose premises have security systems, and

who routinely buy and sell firearms for use in the regular course of their business – like Brink’s and

GardaWorld – would be forced to defend against charges of unlawful dealing. It appears Plaintiffs’

comments fell on deaf ears. Ex. A at 45-46. The Rule’s sixth PEP presumption fails for similar

reasons, reaching security companies that purchase and sell firearms for employee use.

       C. The Rule’s Opposite Presumptions Eviscerate the Statute’s Safe Harbor.

       After sweeping all manner of lawful conduct into its atextual EIB and PEP presumptions,

the Rule adds insult to injury by reducing explicit statutory safe harbors into mere instances where

“[a] person shall not be presumed to be engaged in the business,” but only if “reliable evidence”

so indicates. Compare FR 29092 (providing seven total ‘opposite’ presumptions), with Ex. A at 40–

47. In stark contrast, the statute provides that a “dealer” definitively (not presumptively) “shall

not include a person who makes occasional sales, exchanges, or purchases of firearms for the

enhancement of a personal collection or for a hobby. . . . ” 18 U.S.C. § 921(a)(21)(C) (emphasis

added). The Rule neuters this exemption, claiming “[a] person shall not be presumed to be

engaged in the business … when reliable evidence shows that the person is only reselling or

otherwise transferring firearms … [o]ccasionally to obtain more valuable, desirable, or useful

firearms for the person’s personal collection. . . . ” 89 Fed. Reg. at 29092. In other words, the Rule

reads the statute two degrees removed from its text. As Plaintiff GOA commented, “there is a

massive difference between being declared not in violation of federal law (i.e., the statute), versus

being presumed not in violation of federal law, versus not being presumed in violation of federal law

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(what the [Rule] says).” Ex. A at 47-48. Indeed, “[t]he meaning has changed, the protection has

changed, and the burden of proof has changed.” Id. at 48. 34 ATF has no authority to revise the

statute to its watered-down liking.

III.     The Rule’s “Former Licensee Inventory” Is Atextual Revisionism that Contravenes
         the Statute.

         As for licensure as a dealer in firearms, there are two types of individuals under the Gun

Control Act – those who are licensed dealers, and those who are not (everyone else). 18 U.S.C.

§ 923(c); Ex. A at 32. Not so, according to the Rule. Rather, the Rule purports to create a ‘third

rail’ of “former licensee,” purports to establish and define “a new term” ATF calls “former

licensee inventory” (89 Fed. Reg. at 28969, 29090), and purports to create special rules that apply

to firearms owned by formerly licensed (i.e., unlicensed) persons, but which do not apply to the

public at large. The Rule also creates various “presumptions” of dealing that apply only to former

licensees. 89 Fed. Reg. at 29091. The Rule claims this all is necessary to deal with “the problem of

licensees who improperly liquidate their business inventory … after their license is

terminated. . . .” 89 Fed. Reg. at 28969. The only problem is that the statutory text supports none

of this. See Ex. A at 31-34.

         Focusing on whether, how, and when firearms were transferred to a personal collection

before becoming unlicensed, the Rule creates – out of whole cloth – several idiosyncratic categories

of firearms owned by “former licensees.” First, the Rule says that, if firearms were lawfully



34
  The Rule insists that “[a]gencies may adopt evidentiary presumptions provided that the presumptions
shift the burden of production, not the burden of persuasion [i.e., proof]. . . .” 89 Fed. Reg. at 29007. But
the Rule simultaneously demands “reliable evidence” for an opposite presumption to apply. Id. No doubt,
this “reliable evidence” will not come from the government. Rather, in the real world, an accused will have
to prove their own compliance with the statute to avoid liability.
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transferred to a personal collection prior to license termination, they may not be sold until “[o]ne

year has passed.” 89 Fed. Reg. at 29091 (EIB presumption #5(ii)). But the statute contains no such

requirement. Rather, Section 923(c) by its plain text applies only to “any firearm … disposed of by

a licensee within one year after its transfer from his business inventory.” (Emphasis added.) ATF

has no authority to expand this requirement to “former licensees.” Second, under the Rule, if a

licensee transferred firearms to a personal collection prior to license termination, but did so “to

willfully evade” federal law, then such firearms may never be transferred by the “former licensee.”

89 Fed. Reg. at 29091 (EIB presumption #5(i)). But while that past conduct may have been

unlawful, the mere possession of firearms that previously were unlawfully transferred does not taint

the firearms themselves or support a presumption that unlawful dealing continues. Third, the Rule

creates an impossible category of firearms that “were in the business inventory at the time the

license was terminated” and were never transferred to a personal collection. 89 Fed. Reg. at 29091.

According to the Rule, these firearms remain forever in purgatory, and any attempt to transfer

them leads to the presumption of unlawful dealing. Id. ATF’s theory here is that the EIB

“purchase[s]” occurred while licensed, while the EIB “resale[s]” occurred after licensure. 89 Fed.

Reg. at 29051, 29090. On the contrary, as GOA explained, purchases while licensed to engage in the

business cannot serve as a predicate offense for a charge of unlicensed dealing. Ex. A at 31-34. Rather,

if a “former licensee” merely sells inventory acquired while licensed to do just that, the statute

permits that activity. 18 U.S.C. § 921(a)(21)(C). GOA also pointed out the untenable situation

created by these presumptions, such that certain firearms can never change ownership. Ex. A at 32-

33.



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         The Rule acknowledges and notes that “the former licensee … [is] placed in a difficult

situation,” but ultimately discounts the problem so that “such persons [cannot] unjustly profit

from their illegal actions.” 89 Fed. Reg. at 29051; see also 89 Fed. Reg. at 29035 (lamenting that

former licensees cannot be “immune” from the provisions governing licensees). The Rule attempts

to bridge the gap by digging the hole deeper, fabricating a new “reasonable ‘winding down’

period” of “30 days of termination of license” during which a “former licensee” can still liquidate

inventory in certain ways. 35 FR 29052. But after that period has expired, ATF is finally forced to

admit that a “former licensee[] …. cannot easily sell” firearms he possesses “without … engaging

in the unlicensed business of dealing. . . .” Id. This cannot be the law. 36

IV.      The Rule Violates the Second Amendment.

         The Second Amendment provides: “A well regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be infringed.” This

“unqualified command” contains no limitation as to who may exercise the right, what arms may

be owned or carried, where the right may be exercised, or for what purpose. N.Y. State Rifle &

Pistol Ass’n v. Bruen, 597 U.S. 1, 17 (2022). The right therefore belongs to “all Americans,”

presumptively protects “all instruments that constitute bearable arms,” presumptively protects



35
   Within 30 days of license termination or as otherwise approved, a former licensee either must transfer
their firearms inventory (1) to another licensee, or (2) to a responsible person of the former licensee, but
“such transfer … does not negate the fact that the firearms were repetitively purchased, and were
purchased with the predominant intent to earn a profit by repetitive purchase and resale.” 89 Fed. Reg. at
29092. The Rule never addresses the statutory basis for the 30-day liquidation requirement. See 89 Fed.
Reg. at 29051-53; cf. Ex. A at 33.
36
   FFL revocations have exploded 3,040% since the ATF announced its “zero tolerance” policy, where it
identified five “qualifying violations which . . . “will result in ATF issuing a notice of revocation . . . ” for
the FFL’s license to be a dealer. See Enhanced Regulatory Enforcement Policy, ATF,
https://www.atf.gov/rules-and-regulations/enhanced-regulatory-enforcement-
phttps://www.atf.gov/rules-and-regulations/enhanced-regulatory-enforcement-policy olicy
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all locations, and presumptively covers all “lawful purposes.” District of Columbia v. Heller, 554

U.S. 570, 581-582 (2008); Bruen, 597 U.S. at 31; Heller, 554 U.S. at 624. And “when the Second

Amendment’s plain text covers an individual’s conduct, the Constitution presumptively protects

that conduct. To justify its regulation, … the government must demonstrate that the regulation is

consistent with this Nation’s historical tradition of firearm regulation. Only if a firearm regulation

is consistent with this Nation’s historical tradition may a court conclude that the individual’s

conduct falls outside the Second Amendment’s ‘unqualified command.’” Bruen, 597 U.S. at 17.

         Here, Plaintiffs enjoy a presumption of constitutional protection under the Second

Amendment’s plain text. By exposing Plaintiffs to civil and criminal liability for engaging in the

purchase and sale of firearms – natural prerequisites to keeping and bearing them – the Rule

regulates conduct that the Second Amendment clearly protects. 37 See, e.g., Lynchburg Range &

Training, LLC v. Northam, 105 Va. Cir. 159, 3 (2020)(observing “the right to keep and bear arms

‘inclu[des] the otherwise lawful possession, carrying, transportation, sale, or transfer of

firearms’”); Kole v. Village of Norridge, No. 11 C 3871, 2017 WL 5128989, at *10 (N.D. Ill. Nov. 6,

2017) (citing “Thomas Jefferson … ‘Our citizens have always been free to make, vend, and export

arms.’”). Defendants therefore bear the burden of proving a widespread, Founding-era tradition

of regulation distinctly similar38 to the Rule. See Bruen, 597 U.S. at 26. Indeed, “the core Second




37
   Moreover, any Heller dicta on which Defendants may rely is inapposite. GOA already addressed the
inapplicability of Heller’s dicta on “conditions and qualifications on the commercial sale of arms,”
explaining that Heller had invited future challenges to its assumed traditions and that Bruen had made no
exceptions to use of its rigorous standard. Ex. A at 65, 66. Plus, private sales are not commercial at all,
rendering Heller’s dicta doubly inapplicable. Id. at 66.
38
   The Rule claimed that it need only show “relevantly” similar history, omitting any mention of Bruen’s
discussion of distinct similarity or why the Rule’s perceived societal ills would qualify for a loosening in
analogical stringency. 89 Fed. Reg. at 29002.
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Amendment right to keep and bear arms for self-defense wouldn’t mean much without the ability

to acquire arms.” Teixeira v. County of Alameda, 873 F.3d 670, 677 (9th Cir. 2017) (internal

quotation marks omitted). To this end, courts have held the ability to sell a firearm is protected

under the Second Amendment. See, e.g., Reese v. BATFE, 647 F. Supp. 3d 508, 521 (W.D. La.

2022); Altman v. County of Santa Clara, 464 F. Supp. 3d 1106, 1125 (N.D. Cal. 2020); Ezell v. City

of Chicago, 651 F.3d 684, 704 (7th Cir. 2011); United States v. Marzzarella, 614 F.3d 85, 92 n.8 (3d

Cir. 2010), abrogated on other grounds as recognized by Range v. Att’y Gen. U.S., 69 F.4th 96 (3d Cir.

2023).

         Based on the historical analysis provided in the Rule, Defendants have already failed. First,

the Rule identified a 1794 law that “made it unlawful for a limited period” to export weapons from

the United States. 89 Fed. Reg. at 29002 (emphasis added). But exportation of arms to foreigners

bears no resemblance to restrictions on citizen-to-citizen transfers and fails Bruen’s “how” and

“why” metrics. See Bruen, 597 U.S. at 29. Moreover, “short lived” and “transitory” “restrictions

deserve little weight.” Id. at 69. Second, the Rule cited the Ninth Circuit’s decision in Teixeira v.

County of Alameda, 873 F.3d 670 (9th Cir. 2017), for the proposition that colonial governments

placed “restrictions on the commercial sale of firearms.” 89 Fed. Reg. at 29003. But the page the

Rule cited only discussed prohibitions on the provision of arms to Indians (not then considered part

of the community), another inapposite historical concern. See Teixeira, 873 F.3d at 685. Third, the

Rule cited 1805 Massachusetts and 1821 Maine barrel “proving” laws, which fail Bruen’s “how”

and “why” as product quality control measures, not attempts to impose dealer licenses on

individuals. 89 Fed. Reg. at 29003. Fourth, the Rule cited multiple state laws that regulated the

storage of gunpowder for fire safety, another “how” and “why” mismatch. 89 Fed. Reg. at 29003

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nn.151-152. Finally, the Rule cited just two laws from 1875 and 1879 that required licensing of arms

dealers. Id.. Of course, “19th-century evidence [i]s ‘treated as mere confirmation of what the Court

thought had already been established’” and “cannot overcome or alter th[e] text” when

inconsistent with earlier history. Bruen, 597 U.S. at 37, 36. All told, the Rule’s analogues are too

few, too late, and too dissimilar to support Defendants’ historically unprecedented action today.

       Requiring such licensure of hundreds of thousands of ordinary Americans merely to sell

personal firearms cannot comport with early American historical tradition. In fact, in 1777, when it

appeared the British were poised to win the American Revolution, British Colonel Undersecretary

William Knox drafted a plan called What Is Fit to Be Done with America? to prevent any future

rebellions. David B. Kopel, Does the Second Amendment Protect Firearms Commerce?, 127 Harv. L.

Rev. F. 230, 235 (2014). In relevant part, the plan stated, “the Arms of all the People should be

taken away … nor should any Foundery or manufactuary of Arms, Gunpowder, or Warlike Stores,

be ever suffered in America, nor should any Gunpowder, Lead, Arms or Ordnance be imported

into it without Licence.” Id. In other words, the licensing of gun sellers is a uniquely 20th-century

invention without a historical analogue. ATF fails to shoulder its burden showing otherwise. Thus,

the Rule violates the Second Amendment.

V.     The Rule Violates the Fourth Amendment.

       The Fourth Amendment provides that the “right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be

violated, and no Warrants shall issue, but upon probable cause, supported by Oath or affirmation,

and particularly describing the place to be searched, and the persons or things to be seized.” By

requiring untold thousands of gun owners to seek licensure in order to avoid criminal liability when

                                                   38
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selling portions of their personal collections, the Rule unconstitutionally subjects all these new,

home-based licensees to the GCA’s warrantless inspection regime. See Ex. A at 66-69. That is

because, when deployed en masse, the GCA’s purported constitutional basis for conducting

warrantless administrative searches must fail. Indeed, as the Supreme Court observed, “searches

conducted outside the judicial process, without prior approval by judge or magistrate, are per se

unreasonable under the Fourth Amendment.” Katz v. United States, 389 U.S. 347, 357 (1967).

Consequently, the so-called “highly regulated industry” exception to the warrant requirement

must be, and “has always been[,] a narrow exception” that cannot “swallow the Rule.” City of Los

Angeles v. Patel, 576 U.S. 409, 424-425 (2015) (emphasis added).

        But the Rule does just that. Moreover, the “highly regulated industry” exception’s

constitutional validity remains suspect after Bruen, as the Supreme Court conceded in United

States v. Biswell, that “[f]ederal regulation of the interstate traffic in firearms is not as deeply rooted

in history as is governmental control” of other traditionally regulated industries. United States v.

Biswell, 406 U.S. 311, 315 (1972) (emphasis added). Thus, after Bruen, the modern Court would

probably not decide Biswell similarly today. Ex. A at 68. Because of that lack of historical example,

the Rule cannot purport to apply the “highly regulated industry” exception to hundreds of

thousands of ordinary Americans who have no desire or intent to enter the industry at all.

        ATF failed to respond to GOA on this issue. See 89 Fed. Reg. at 29003-04. Conceding

“more persons who are already engaged in the business of dealing in firearms [must] becom[e]

licensed” (89 Fed. Reg. 28968), the Rule implicitly admitted there could be Fourth Amendment

issues for home-based licensees. See 89 Fed. Reg. at 29004 (“‘An expectation of privacy in

commercial premises … is different from, and indeed less than, a similar expectation in an

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individual’s home.’”). Even so, the Rule doubled down, engaging in Katz circularity by claiming

“every applicant for a license is made aware of ATF’s right of entry into their premises and

examination of their records … thus there can be no reasonable expectation of privacy. . . .” 39 Id.

In other words, according to the Rule, if the government announces ‘no privacy’ in any given area

of life, the public can no longer expect privacy, and the Fourth Amendment has nothing to say.

The highly regulated industry exception to the Fourth Amendment is of questionable continuing

validity when it comes to the Second Amendment. Even so, the Rule cannot use that “narrow

exception” to extend federal licensing to hundreds of thousands of ordinary Americans who

happen to sell a few personal firearms.

VI.      The Rule Violates the Separation of Powers.

         Article I, Sections 1 and 7 of the Constitution explain the way the legislative power is

exercised and bills become law. And as the Supreme Court recently reminded in United States v.

Davis, “[o]nly the people’s elected representatives in Congress have the power to write new

federal criminal laws.” United States v. Davis, 139 S. Ct. 2319, 2323 (2019) Violating that principle,

the Rule charts a different course, allegedly promulgated “in light of the BSCA’s changes to the

GCA and to provide additional guidance. . . .”89 Fed. Reg. at 28973 (emphasis added). ATF claims

that “advancements in manufacturing … and distribution technology … and changes in the

marketplace for firearms … have created a need for further clarity in the regulatory definition of

‘dealer.’” Id. (emphasis added).

         In other words, ATF believes the law needs updating beyond what the BSCA accomplished.



39
  This is also somewhat of a strawman, reframing the privacy issue to the contents of records rather than
the fact that a home is being searched.
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But even if so, that is the job of the people’s representatives in Congress – not unelected

bureaucrats. See 89 Fed. Reg. at 29010. Indeed, “Congress alone has the institutional competence,

democratic legitimacy, and (most importantly) constitutional authority to revise statutes in light of

new social problems and preferences. Until it exercises that power, the people may rely on the

original meaning of the written law.” Wis. Central Ltd. v. United States, 138 S. Ct. 2067, 2074

(2018); see also Martinez v. Tyson Foods, Inc., 533 F. Supp. 3d 386, 393 (N.D. Tex. 2021) (citation

omitted) (“We do not inquire what the legislature meant; we ask only what the statute means.”);

Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 325-28 (2014) (“[a]n agency has no power to ‘tailor’

legislation to bureaucratic policy goals by rewriting unambiguous statutory terms . . . . to suit its

own sense of how the statute should operate[,] . . . [which] should have alerted [it] that it had taken

a wrong interpretive turn.”). Agencies cannot edit statutes at will, either to fit their own policy

agendas, or to give meaning to some alleged “purpose” or “intent” that bureaucrats believe they

have divined from a prior Congressional enactment. See Gordon v. NovaStar Mortg., Inc., 524 F.3d

1175, 1188 (11th Cir.) (“[w]e interpret and apply statutes, not congressional purposes”), revised on

other grounds, 529 F.3d 1026 (11th Cir. 2008); Antonin Scalia & Bryan A. Garner, Reading Law:

The Interpretation of Legal Texts 56 (2012) (“purpose must be derived from the text, not from . .

. an assumption about the legal drafter’s desires”). Moreover, the fact that Congress so recently

enacted the BSCA – choosing not to provide the “additional guidance” or “further clarity” the

Rule claims to provide – confirms that ATF has wandered off the congressionally chartered path.40


40
  Two of the BSCA’s most ardent supporters – Senators Cornyn and Tillis – provide further confirmation
that the Rule contravenes congressional intent. Indeed, both Senators “plan to oppose the new rule using
the Congressional Review Act” and have announced that “the vast majority of this rule has nothing to do
with the BSCA. . . . ” Zachary Folk, Biden Closes ‘Gun Show Loophole’ – Here’s What to Know and When

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        The Rule does not exist in a vacuum. Rather, it is the latest of a series of ATF attempts to

amend congressionally enacted statutes (without involvement of Congress) at the behest of

presidential administrations. See Bump-Stock-Type Devices, 83 Fed. Reg. 66514 (Dec. 26. 2018)

(to be codified at 27 C.F.R pts. 447, 478, & 479); 87 FR 24652 (unfinished frames and receivers);

Factoring Criteria for Firearms with Attached “Stabilizing Braces,” 88 Fed. Reg. 6478 (Jan. 31,

2023) (to be codified at 27 C.F.R. pts. 478 & 479) And each time Congress cracks the door, ATF

kicks it in. 41 Yet each time the ATF has pulled such shenanigans, the Fifth Circuit has struck down

the Rule. See Cargill v. Garland, 57 F.4th 447 (5th Cir. 2023) (bump stocks); VanDerStok v.

Garland, 86 F.4th 179 (5th Cir. 2023) (unfinished frames and receivers); Mock v. Garland, 75 F.4th

563 (5th Cir. 2023) (pistol stabilizing braces). Likewise, this Court should strike down ATF’s most

recent attempt to amend federal gun laws without involving Congress.

    E. Plaintiffs Will Suffer Irreparable Harm if the Rule Takes Effect.

        By virtue of the Rule’s numerous statutory and constitutional defects, Plaintiffs suffer a

variety of irreparable harms that necessitate injunctive relief. Here, Plaintiffs need not even

“demonstrate that harm is inevitable and irreparable,” but only that there is “a significant threat

of injury from the impending action, that the injury is imminent, and that money damages would

not fully repair the harm.” Humana, Inc. v. Jacobson, 804 F.2d 1390, 1394 (5th Cir. 1986). Plaintiffs

more than meet this standard. First, under the Rule, Plaintiffs are threatened with administrative



Rule Comes into Effect, Forbes, https://www.forbes.com/sites/zacharyfolk/2024/04/11/biden-closes-gun-
show-loophole-heres-what-to-know-and-when-rule-comes-into-effect/?sh=89dcf6a19ed8 (Apr. 11, 2024).
41
   See, e.g., Benjamin Hardy et al., Illegal Guns Sales Led to Fatal ATF Raid on Airport Director Malinowski’s
Home, Affidavit Says, Ark. Times (Mar. 21, 2024), https://arktimes.com/arkansas-
blog/2024/03/21/judge-unseals-documents-in-malinowski-case (reporting on ATF’s fatal dawn raid of the
home of an Arkansas airport executive accused of “engaging in the business”). It would appear that, by
promulgating the Rule, ATF desires to increase the frequency of these sorts of interactions.
                                                       42
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and even criminal enforcement actions for engaging in noncommercial conduct that is entirely

lawful under the statute. Plaintiffs likewise cannot dispose of firearms from their personal

collections for fear of being presumed engaged in the business. See Tormey Dec. ¶ 18. Nor can so-

called “former licensees,” whose “inventory” now constitutes frozen assets incapable of seeing a

realization of value. See Pratt Dec. ¶ 22–24. These compliance costs, in addition to the costs

accrued by those now seeking licensure to avoid liability, “are unrecoverable because of the

government-defendant’s sovereign immunity from monetary damages. . . .” NRA of Am., Inc. v.

BATFE, No. 3:23-CV-1471-L, 2024 U.S. Dist. LEXIS 57557, at *25 (N.D. Tex. Mar. 29, 2024).

Such “nonrecoverable costs of complying with a putatively invalid regulation typically constitute

irreparable harm.” Id.; see also Louisiana v. Biden, 55 F.4th 1017, 1034 (5th Cir. 2022) (“complying

with a regulation later held invalid almost always produces the irreparable harm of nonrecoverable

compliance costs.”). Second, because the Rule also violates the Second, Fourth, and Fifth

Amendments, “irreparable harm occurs whenever a constitutional right is deprived, even for a

short period of time.” Def. Distributed v. U.S. Dep’t of State, 865 F.3d 211, 214 (5th Cir. 2017)

(Elrod, J. dissenting)

   F. The Balance of Equities and Public Interest Overwhelmingly Favor Plaintiffs.

       When the government is a party, the balance-of-equities and public-interest factors merge.

Nken v. Holder, 556 U.S. 418, 435 (2009). A court therefore must weigh whether “the threatened

injury outweighs any harm that may result from the injunction to the non-movant” and whether

“the injunction will not undermine the public interest.” Valley v. Rapides Parish Sch. Bd., 118 F.3d

1047, 1051 (5th Cir. 1997). As the Fifth Circuit held in VanDerStok v. Garland, No. 23-10718, 2023

U.S. App. LEXIS 26499, at *6 (5th Cir. Oct. 2, 2023), “both the balance of equities and the public

                                                  43
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interest weigh in favor of allowing orderly judicial review of the Rule before anyone shuts down

their businesses or sends them to jail.” Given that the Rule seeks to upend this Nation’s tradition

of private sales, and to make what was once lawful behavior uncertain and illegal, the balance of

equities tips sharply in Plaintiffs’ favor, requiring an injunction to maintain the status quo. Finally,

the vindication of constitutional rights is always in the public interest. Netflix, Inc. v. Babin, 88

F.4th 1080, 1100 (5th Cir. 2023) (“Our precedent similarly establishes that injunctions protecting

First Amendment rights ‘are always in the public interest.’”); see also Bruen, 597 U.S. at 70

(Second Amendment “is not ‘a second-class right, subject to an entirely different body of rules

than the other Bill of Rights guarantees.’”).

                                          CONCLUSION

       For the foregoing reasons, this Court should temporarily enjoin Defendants from

enforcing the Rule.




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Date: May 2, 2024                            Respectfully submitted.

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                                CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on May 2, 2024 and that all parties will be served with the Original Complaint via
certified mail and process server.
                                               /s/Garrrett Greene
                                               GARRETT GREENE




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